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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


    DOW JONES & COMPANY, INC.
    and NYP HOLDINGS, INC.,                          Civil Action No. 24-cv-7984-KPF

                       Plaintiffs,
                                                     FIRST AMENDED COMPLAINT
          v.
                                                     JURY TRIAL DEMANDED
    PERPLEXITY AI, INC.,

                       Defendant.



         Plaintiffs Dow Jones & Company, Inc. (“Dow Jones”) and NYP Holdings, Inc. (“NYP

Holdings”) (collectively, “Plaintiffs”), by and through their attorneys, Torridon Law PLLC, for

their First Amended Complaint, hereby allege against Defendant Perplexity AI, Inc. (“Perplexity”

or “Defendant”), as follows:

                                 NATURE OF THE ACTION

         1.    Perplexity is a generative artificial intelligence company that claims to provide its

users accurate and up-to-date news and information in a platform that, in Perplexity’s own words,

allows users to “Skip the Links” to original publishers’ websites.1 Perplexity attempts to

accomplish this by engaging in a massive amount of illegal copying of publishers’ copyrighted

works and diverting customers and critical revenues away from those copyright holders. This suit

is brought by news publishers who seek redress for Perplexity’s brazen scheme to compete for

readers while simultaneously freeriding on the valuable content the publishers produce.




1
  On its website under the heading “Why Choose Perplexity?,” the very first reason given is “Skip
the Links.” What is Perplexity?, Perplexity AI, https://perma.cc/Q4VM-DYUJ.


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       2.      Dow Jones, NYP Holdings, and their corporate parent News Corporation (“News

Corp”) are among the best-known news publishers in the world. Plaintiffs’ publications – including

The Wall Street Journal and the New York Post, two of the most widely circulated newspapers in

the United States – rely on the effort, talent, skills, and experience of accomplished journalists,

editors, and other professional staff who meticulously investigate and skillfully write news stories,

often under tight deadlines and in unpredictable circumstances. At times these journalists risk their

lives and liberty to investigate, write, and break news stories that they believe will change the

world for the better. These journalists, editors, and staff work hard to earn a living in the extremely

competitive news industry. They do so by creating high-quality journalism – from the analytical,

to the groundbreaking, to the provocative – to teach, to inform, and to entertain. The success of

their work depends as much on uncovering the stories as it does on using their talent and skills to

present the stories in a way that captures attention, spurs thinking, and provokes the imagination.

       3.      There is high demand for such content, particularly for accurate and up-to-date

information presented in an easily digestible format. In the current digital age, Plaintiffs’ revenues

for their original content come predominantly from selling subscriptions to their digital

publications and from online advertising that is presented when a consumer visits the news

publishers’ website directly or clicks on a search-engine or other link that brings the consumer to

the website. Plaintiffs and other publishers also make significant revenue from licensing their

content to others, including, but not limited to, artificial intelligence (“AI”) companies that

compete with Perplexity.

       4.      Seeking to capitalize on this vast market for content, Defendant Perplexity has

raised significant capital to build a so-called “answer engine.” Its AI “answer engine” copies on a

massive scale, among other things, copyrighted news content, analysis, and opinion as inputs into




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its internal database. It then uses that copyrighted content to generate responses to users’ queries

that are intended to and do act as a substitute for news and other information websites. Perplexity

loudly touts that its answers to user queries are so reliable that its users can “Skip the Links” to the

original publishers and instead rely wholly on Perplexity for their news and analysis needs. What

Perplexity does not tout is that its core business model involves engaging in massive freeriding on

Plaintiffs’ protected content to compete against Plaintiffs for the engagement of the same news-

consuming audience, and in turn to deprive Plaintiffs of critical revenue sources.

       5.      To build its substitute product, upon information and belief, Perplexity accesses and

copies, without authorization or remuneration, vast numbers of webpages containing copyrighted

material, including from Plaintiffs’ webpages and third-party webpages containing Plaintiffs’

licensed copyrighted works. In its quest to provide “answers,” Perplexity accesses content from

original sources, makes copies of that content that it includes in a massive “retrieval-augmented

generation” (“RAG”) database (called for purposes of this Complaint a “RAG index”),2 provides

that information from the index to a large language model (“LLM” or “model”) (a form of artificial

intelligence that functions as a complex predictive text machine), and repackages the original,

indexed content in written responses (“outputs”) to users. These outputs (or, in Perplexity’s lingo,

“answers”) are machine-generated reproductions of human-created content arranged by LLMs and

other tools that summarize and paraphrase original, human-generated content, even at times

reproducing that content verbatim.




2
  For purposes of simplicity throughout this Complaint, Plaintiffs refer to Perplexity as having
created a single RAG index. Upon information and belief, Perplexity may utilize other and/or
additional methods of storing the content that Perplexity wrongfully takes from Plaintiffs for the
purpose of providing a substitute product.


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        6.      Perplexity’s conduct violates Plaintiffs’ exclusive rights under the Copyright Act in

various ways. First, Perplexity’s actions at the input stage – copying without authorization massive

amounts of Plaintiffs’ copyrighted works for inclusion into Perplexity’s RAG index (“inputs”) –

constitute completed and massive copyright violations without even a colorable fair use.

        7.      The illegality of this massive copyright violation at the input stage does not depend

on whether the particular outputs of Perplexity’s so-called “answer engine” are sufficiently similar

in each instance to the copyrighted works of Plaintiffs as to constitute identical reproductions of

those works. It is sufficient that Perplexity makes copies of Plaintiffs’ works on a grand scale to

create reproductions and/or derivative content that is designed as a substitute for Plaintiffs’ works.

        8.      Nevertheless, the outputs of Perplexity’s products also unlawfully infringe on

Plaintiffs’ copyrights in several ways. Perplexity’s “answers” to users’ queries often include full or

partial verbatim reproductions of Plaintiffs’ news, analysis, and opinion articles. And worse, users

can access verbatim reproductions of Plaintiffs’ content more frequently by purchasing a

subscription to Perplexity’s premium service, “Perplexity Pro.” Other times, Perplexity turns

Plaintiffs’ copyrighted articles into paraphrases or summaries of those copyrighted works that

similarly serve as substitutes for accessing Plaintiffs’ copyrighted works on Plaintiffs’ own

websites and/or licensed websites. The use of Plaintiffs’ copyrighted content to generate any such

substitutes is not a fair use.

        9.      In addition to using Plaintiffs’ copyrighted work to develop a substitute product that

reproduces or imitates Plaintiffs’ original content, Perplexity also harms Plaintiffs’ brands by

falsely attributing to Plaintiffs certain content that Plaintiffs never wrote or published. Not

infrequently, if Perplexity is asked about what Plaintiffs’ publications reported, Perplexity

“answers” with false information. AI developers euphemistically call these factually incorrect




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outputs “hallucinations.” Perplexity’s hallucinations can falsely attribute facts and analysis to

content producers like Plaintiffs, sometimes citing an incorrect source, and other times simply

inventing and attributing to Plaintiffs fabricated news stories.

       10.     Plaintiffs’ famous trademarks for The Wall Street Journal and the New York Post,

whose enterprise and brand values are tied to their reputation for accuracy, are damaged and diluted

by Perplexity’s use of Plaintiffs’ trademarks in connection with the hallucinations conjured by

Perplexity’s “answer engine,” which deceives the public into believing that the hallucinations are

authentic news stories published by Plaintiffs.

       11.     Perplexity’s business is fundamentally distinct from that of traditional search

engines that also copy a vast amount of content into their indices but do so merely to provide links

to the originating sites. In its traditional form, a search engine is a tool for discovery, pointing

searchers to websites such as the pages of The Wall Street Journal or the New York Post, where the

users can click to find the information and answers they seek. Those clicks in turn provide revenue

for content producers. In part because traditional search engines that simply provide hyperlinks

promote merely the discovery of copyrighted content, and not its substitution (and commercial

monetization of that substitute), copyright holders historically have not sought to prevent or legally

challenge the copying by traditional search engine companies. But unlike the business model of a

traditional internet search engine, Perplexity’s business model does not drive business toward

content creators. To the contrary, it usurps content creators’ monetization opportunities for itself.

       12.     Generative AI technology has enormous potential to benefit society, but neither

society nor AI companies will benefit if original content creators are harmed. Undermining the

financial incentives to create original content will result in less content being generated and/or less

quality content being generated, which will also reduce the amount of content available to power




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AI’s growth. Fortunately, this is not a zero-sum game. Generative AI companies and content

producers can mutually benefit from working together, and Plaintiffs welcome the opportunity to

help develop and refine new generative AI tools.

        13.     On July 9, 2024, Plaintiffs’ corporate parent News Corp sent a letter to Perplexity’s

cofounder and CEO Aravind Srinivas about Perplexity’s unauthorized use of Plaintiffs’

copyrighted works and suggested a meeting to discuss a licensing deal with guardrails (the “July

9 Letter,” attached as Appendix 1). According to Perplexity, it responded eight minutes later3 and

offered “to share more about Perplexity’s Select Publisher Program and [its] first-of-its kind

revenue sharing model,” (the “Response Email,” attached as Appendix 2). As alleged further

below, the Publishers’ Program is an attempt to dictate unilaterally licensing terms to copyright

holders that are inadequate to compensate copyright holders properly and protect their content. See

infra ¶¶ 72–73.

        14.     By contrast, other AI companies have engaged meaningfully with Plaintiffs and

other publishers, resulting in legitimate market-based licensing solutions. Indeed, as Forbes has

recently observed, “AI content licensing initiatives abound.”4 For example, News Corp recently

partnered with OpenAI to license its content for certain uses in OpenAI’s applications. OpenAI

users will have the benefit of accessing Plaintiffs’ content, whether quoted or summarized by




3
  Plaintiffs were unaware of any response to the July 9 Letter until after the initiation of this lawsuit,
when Perplexity made public statements alleging that it had responded. In light of those public
statements, Plaintiffs’ counsel asked Perplexity’s counsel for clarification. On November 27, 2024,
Perplexity’s counsel forwarded a print-out of an email response sent by Perplexity within eight
minutes of receiving the July 9 Letter. See Appendix 2. Plaintiffs and their counsel have no record
of receiving such an email, but accept the representation of Perplexity’s counsel that it was sent.
4
  Bill Rosenblatt, The Media Industry’s Race To License Content For AI, FORBES (July 18, 2024),
https://www.forbes.com/sites/billrosenblatt/2024/07/18/the-media-industrys-race-to-license-
content-for-ai.


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OpenAI. This cooperative relationship will allow OpenAI and Plaintiffs to experiment with new

product experiences and revenue models.

       15.     Generative AI technology can be developed in two ways. It can be developed

legally by recognizing the legitimate rights of copyright holders and by including in the AI business

model the legitimate costs and benefits of licensing the copyrighted material, or it can be developed

illegally by stealing copyrighted material. Perplexity has elected the illegal approach, building a

user base through theft of a massive volume of copyrighted material, perhaps because it believes

that assembling prestige and market power will help bolster its bargaining position once it is called

to account. Whatever its strategy, it is now time for that reckoning.

                                         THE PARTIES

       16.     Plaintiff Dow Jones & Company, Inc. (“Dow Jones”) is a Delaware corporation

with its headquarters and principal place of business at 1211 Avenue of the Americas, New York,

New York 10036.

       17.     Plaintiff NYP Holdings, Inc. (“NYP Holdings”) is a Delaware corporation with its

headquarters and principal place of business at 1211 Avenue of the Americas, New York, New

York 10036.

       18.     Defendant Perplexity AI, Inc. (“Perplexity”) is a Delaware corporation with its

principal place of business at 115 Sansome Street, Suite 900, San Francisco, California 94105.

                                 JURISDICTION AND VENUE

       19.     This civil action seeks damages, injunctive relief, and other equitable relief under

the Copyright Act of 1976, 17 U.S.C. § 101 et seq., and the Lanham Act, 15 U.S.C. § 1051 et seq.

       20.     This Court has jurisdiction over this civil action under 28 U.S.C. §§ 1331 and 1338.

       21.     Venue is proper in this Judicial District under 28 U.S.C. §§ 1391 and 1400(a).




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        22.    This is the District in which a substantial portion of the events giving rise to the

claims occurred and/or in which Plaintiffs’ injuries were suffered. Plaintiffs’ principal places of

business and headquarters are in this District, a significant number of Plaintiffs’ customers are

located in this State and District, and a significant share of Plaintiffs’ business from subscribers,

website users, and licensing is transacted with individuals and entities residing in this State and

District. As such, the injuries alleged herein from Perplexity’s infringement and other unlawful

conduct foreseeably occurred in this State and District. In addition, Perplexity or its agents reside

in this District and may be found in this State and District.

        23.    Defendant Perplexity is subject to the jurisdiction of this Court pursuant to N.Y.

C.P.L.R. § 302(a)(1) and (3) as it has purposefully directed its activities at New York and has

purposefully availed itself of the benefits of doing business in New York, including by registering

to transact and by transacting business in the State and District, and by supplying goods or services

in the State and District, through both the promotion and distribution of its products and the sale

of subscription services to customers in this State and District.

        24.    Perplexity has established a continuing presence in this State and District, including

because Perplexity possesses or utilizes real property situated within the State and District and has

employees in this State and District. Those employees include its co-founder and Chief Strategy

Officer, as well as engineering, infrastructure, and content staff, who are actively engaged in

developing, implementing, and promoting the technology that Perplexity uses to gather and

misappropriate Plaintiffs’ copyrighted content.

        25.    Perplexity aggressively promotes and advertises its products and services in this

State   and    District,   including   through    its   dynamic,    heavily    interactive   website

(https://www.perplexity.ai and associated subpages) and mobile applications. Perplexity’s website




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targets customers in this State and District with promotional material tailored to a New York

audience, including a web page inviting visitors to “Discover New York with Perplexity.”5

Perplexity’s marketing activities include promoting on its Instagram account a massive billboard

in Times Square from September 2024 which read “Congratulations Perplexity on 250 million

questions answered last month.”6

         26.      Perplexity processes subscription purchases from customers in this State and

District, transmits Plaintiffs’ copyrighted content to users in this State and District, and has a

significant number of customers in this State and District.

         27.      As a direct and proximate result of Perplexity’s unauthorized use and/or

dissemination of Plaintiffs’ copyrighted works and trademarks in New York and elsewhere,

Plaintiffs have lost and will continue to lose revenue and profits from the market for content

licensing, subscribers, visitors, and users.

                                   FACTUAL ALLEGATIONS

    I.         Plaintiffs’ Robust Businesses and Copyrighted Works

         28.      Dow Jones began in 1882 as a niche news agency in a Wall Street basement,

founded by reporters Charles Dow, Edward Jones, and Charles Bergstresser. Publishing the first

edition of The Wall Street Journal in July 1889, Dow Jones has now expanded into a worldwide

news powerhouse. It creates and distributes some of the most widely recognized and reputable

publications in the news industry, including, in addition to The Wall Street Journal, Dow Jones

Newswires, MarketWatch, Financial News, and Barron’s.




5
  Discover New York with Perplexity, Perplexity AI (last visited Oct. 17, 2024),
https://www.perplexity.ai/encyclopedia/discovernewyork.
6
  @perplexity.ai, Instagram (Sept. 4, 2024),
https://www.instagram.com/perplexity.ai/p/C_g2TonSHC5.


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         29.   Dow Jones is a trusted source of accurate, original news stories, data and analytics,

and financial and business insight for millions of customers across the country and around the

world.

         30.   A recipient of 39 Pulitzer Prizes, the award-winning newsroom at The Wall Street

Journal sent one of the first news reports of a plane crashing into the World Trade Center on

September 11, 2001, broke the story of fraud and corruption at Theranos which led to criminal

prosecutions and convictions, uncovered thousands of federal officials having investments in

companies that stood to benefit from their agencies’ work, and first revealed a social media

company’s failure to take remedial measures despite internal knowledge of its platforms’ ill effects

on minors.

         31.   Dow Jones owns copyrighted content in The Wall Street Journal, and registers

copyrights with the United States Copyright Office for The Wall Street Journal. Upon information

and belief, Dow Jones’s registered copyrighted works that Perplexity has been able to access

electronically have been copied and/or reproduced by Perplexity into its RAG index, including the

content covered by the registrations listed at Appendix 3.

         32.   Dow Jones is also the owner of a number of federally registered trademarks for the

mark The Wall Street Journal and the mark WSJ including Registration Nos. 408,379, 1,960,159,

4,297,319, 4,297,321, 4,298,327, 3,981,663, and 4,813,188, and others, which were registered on

August 8, 1944, March 5, 1996, March 5, 2013, March 5, 2013, March 5, 2013, June 21, 2011, and

September 15, 2015, respectively, and by virtue of their continued use are incontestable.

         33.   NYP Holdings is the parent company of the New York Post, a trusted major news

source for millions of readers and ranking last year as the third largest newspaper by print

circulation in the United States. The paper was first published in 1801 by Alexander Hamilton. It




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is America’s oldest continuously published newspaper and has one of the most visited news

websites in the country.

       34.     NYP Holdings owns copyrighted content in the New York Post, and registers

copyrights with the United States Copyright Office for the New York Post. Upon information and

belief, NYP Holdings’ registered copyrighted works that Perplexity has been able to access

electronically have been copied and/or reproduced by Perplexity into its RAG database, including

the content covered by the registrations listed at Appendix 4.

       35.     NYP Holdings is also the owner of a number of federally registered trademarks for

the mark New York Post including Registration Nos. 1,526,818, 2,213,076, and 3,639,502, and

others, which were registered on February 28, 1989, December 22, 1998, and June 16, 2009,

respectively and by virtue of their continued use are incontestable.

       36.     Providing comprehensive, compelling news coverage, analysis, and opinion

requires the immense innovation and creativity of many contributors. Journalists at Dow Jones and

NYP Holdings decide not only what stories to tell but how to tell them, making original choices

about what material should be included or emphasized, how a story should be organized and

framed, and in what style or voice the story should be presented. Journalistic writing often requires

significant ingenuity as journalists must present compelling narratives to audiences within the

confines of fact and truth. The success and survival of news publishers depend just as heavily on

which stories they choose to uncover and tell as on how they tell those stories.

       37.     News publishing, particularly breaking daily news, also has a significant financial

cost and risk. News publishers like Dow Jones and NYP Holdings employ journalists, subject-

matter experts, photographers, videographers, editors, and administrative staff. They maintain

extensive equipment and offices, including global networks of correspondents and bureaus, to




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cover events around the world. And stories require a multilayered editing process to ensure

standards of quality and reliability, which further adds to the cost of creation.

       38.     The cost of journalism is also much more than financial. Journalists may risk their

lives and liberty in furtherance of their commitment to an informed public. They report from war

zones, investigate terror networks, and report on major natural disasters. They grapple with arrest,

incarceration, and wrongful prosecution, and sometimes even tragically lose their lives.

       39.     News publishers can support their journalists’ work and invest skill, creativity, time,

and money into the important endeavor of gathering and presenting the news only if there is a

market that fairly compensates them for these efforts.

       40.     Before widespread internet access, news publishers funded their operations entirely

from subscriptions, newsstand sales, and advertisements in their printed newspapers. But the

economics of newsgathering have significantly changed in the past quarter-century, with many

news companies downsizing or ceasing production of print editions altogether. Most now rely

overwhelmingly on digital content, including paid access to copyrighted content and content

supported by advertising revenue. Those revenues depend on consumers subscribing to the

publications and, in the case of advertising-supported content, clicking on the links to the

publisher’s own webpages and to licensed webpages. Any company that copies news publishers’

original works to enable and encourage consumers to “Skip the Links,” as Perplexity urges,

purposefully diverts readers’ attention to itself and away from the original news publishers and

siphons off for itself the revenue opportunities that support news and journalists.

       41.     Dow Jones, NYP Holdings, and other publishers have entered into agreements

expected to yield significant revenue through the licensing of their copyrighted articles to AI

companies that want to utilize popular, high-quality, human-created journalism for use by the




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companies’ AI applications. Revenue received from legitimately-run AI companies supports the

costs of news gathering. This revenue also establishes that there is a market for the licensing of

human-generated content for lawful use in AI technologies.

         42.      Plaintiffs’ content is highly valued in this market.

   II.         Perplexity’s Business, Generative AI Technology, and “RAG” Index

         43.      Perplexity is a generative AI company.

         44.      Generative AI systems can generate content that mimics natural language in

response to a prompt using technology called large language models.

         45.      LLMs function as complex predictive text machines. They assign different words a

different number, or “vector,” that represents their relationship to other words. The model can

produce text that appears like natural language and/or language resembling the style of a certain

author or publication.

         46.      LLMs are “trained” on large amounts of content that enable them successfully to

assemble sentences and paragraphs for a reader to comprehend. News articles, analysis, and

editorials serve as very useful content in this training due to, among other things, their clarity and

structure, the editing and quality control they receive, their wide range of topics, their range of

perspectives, the recency of their information, their writing style, and their tone.

         47.      After an LLM is initially trained on vast amounts of content containing many

natural language expressions, the model can be “fine-tuned.” Fine-tuning is a process by which an

LLM is trained further on a smaller, more specific set of data that allows the model to become

more specialized in conducting a specific task, responding to prompts specific to a subject area, or

recognizing nuances in particular questions.

         48.      Fine-tuning might also ensure that the LLM responds to certain prompts by

mimicking a certain linguistic style. For example, outputting a cooking recipe requires a distinct


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output style from recounting the statistics of the Allies’ landing at Normandy’s beaches on D-Day,

or from writing a poem about the summer wind. A medical treatise uses a distinct linguistic style

from a sports recap.

         49.    To improve a model’s chances of presenting factually correct outputs, generative

AI companies wishing to offer products that produce current and reliable information often

incorporate an additional step in their process after training and fine-tuning. This additional and

important step is known as “retrieval-augmented generation,” shortened as “RAG,” or known

colloquially as “grounding.”

         50.    RAG enables AI applications to focus their models on a very specific, limited set

of data or piece of content in response to a particular user’s query. RAG indices also give AI

applications the ability to collect and store new content created by authors after the LLMs they

utilize have been trained. To employ a RAG system, AI applications typically utilize indexed

databases that house all the content from which the AI application will retrieve specific information

to generate outputs for its users. The larger the index, the more “answers” the AI application can

provide.

         51.    In Perplexity’s words, it “scours the internet, gathering information from

authoritative sources like articles, websites, and journals.”7 It then, “compiles the most relevant

insights into a coherent, easy-to-understand answer” automatically generated from those original

sources.8

         52.    The assembling of authoritative sources for a RAG index is a distinct process from

assembling content for training an LLM and from assembling content for fine-tuning an LLM.



7
    How does Perplexity work?, Perplexity AI, https://perma.cc/4F9F-R7PS.
8
    Id.


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RAG indices are specifically comprised of content that AI companies want to use as source

material from which to generate the “answers” to user prompts and questions. They consist only

of those high-quality sources that AI companies deem trustworthy – the most trustworthy sources

being those that expend the most human capital on drafting, fact-checking, editing, and reviewing

the content.

       53.     RAG indices are organized in a manner to allow rapid-retrieval, and they are

updated continuously by web crawlers that scrape and add the most current content to the RAG

index. Rapid retrieval is essential to generative AI technology’s ability to avoid latency in

producing outputs. In particular, a robust and up-to-date RAG index that includes high-quality,

human-generated content, such as news, analysis and opinion stories from Dow Jones and NYP

Holdings, is essential to Perplexity’s AI products. As Perplexity cofounder and current CEO

Aravind Srinivas has acknowledged, content from major news publications is “generally more

reliable than Substack posts, which may be more opinionated.”9

       54.     Upon information and belief, since it was launched in 2022, Perplexity has copied,

or caused to be copied, all of the copyrighted content of Dow Jones and NYP Holdings into its

RAG index that it has been able to access, including content covered by the registrations listed at

Appendix 3 and Appendix 4.

       55.     There are established, growing markets both for content that can be copied into a

RAG index as well as for RAG indices themselves, which can be bought, sold, and licensed.

       56.     Once original content from the RAG index is selected from which to derive an

output, the content is copied again into the “context window” of an LLM, along with the user’s


9
 See, e.g., Joanne Chen, How Perplexity.ai Is Pioneering The Future Of Search, FORBES (Sept. 6,
2023), https://www.forbes.com/sites/joannechen/2023/09/06/how-perplexityai-is-pioneering-the-
future-of-search (referencing The New York Times).


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query. The LLM then uses advanced predictive text technology to reproduce or generate a

derivative of the original content in an “output” of sentences and phrases that respond to the user’s

query.

         57.    For example, if asked to provide three take-aways from a magazine or news article,

the AI application will first identify the article it wants to utilize for its response. Then it will feed

the article, along with the prompt, to the LLM. The LLM will then conduct a multi-step process

by which it identifies groupings of words likely to reflect a few different points in the article and

provides that content to the user in a readable format, whether in verbatim text, a paraphrased

summary, or in some combination of the two.

         58.    Perplexity has explained that a distinct feature of its AI application is that its RAG

technology tells the LLM exactly which original content to turn into its “answer.” Perplexity

believes it can produce more accurate answers because it relies so heavily – and sometimes

exclusively – on sources it deems particularly trustworthy. According to Srinivas, Perplexity’s

principle is: “given a query, always retrieve relevant documents and pick relevant paragraphs from

each document and use those documents and paragraphs to write your answer for that query. The

principle in Perplexity is you’re not supposed to say anything that you don’t retrieve.”10

         59.    For several reasons, including because Perplexity generates outputs for users on an

individualized basis, it is effectively impossible for original content creators to uncover all of the

ways in which their copyrighted works are being repackaged and sold to Perplexity’s users, short

of legal proceedings compelling disclosures by Perplexity.




10
 Lex Fridman Podcast, Aravind Srinivas: Perplexity CEO on Future of AI, Search & the Internet,
YOUTUBE, at 01:56:50 (June 19, 2024), https://www.youtube.com/watch?v=e-gwvmhyU7A.


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            60.      Upon information and belief, Perplexity has opted to ignore copyright law in an

attempt to quickly get its products to market and to acquire a sizable customer base ahead of other

AI companies. In the words of its CEO Aravind Srinivas, “Once you have the user love [your

technology] . . . it’s very hard to lose from there.”11

     III.         Perplexity’s Response to Public Criticism That It Ignores Copyright Law

            61.      Perplexity has received significant public criticism for ignoring copyright law and

otherwise acting unethically in its race to get users.12 At various times, Perplexity has responded

publicly with a series of nonresponsive, inaccurate, and/or contradictory excuses.

            62.      Initially, Perplexity attempted to justify its massive illegal copying of copyrighted

material by touting repeatedly its “Cited Sources” feature, as though a citation to an original source

with a link that Perplexity actively encourages users to “skip” would make up for stealing

copyrighted material.

            63.      When asked at a technology conference how he will “deal with copyright issues . . .

[because he] definitely will take data from the internet from some random website and the [ ] traffic

will be reduced from their website,” Srinivas responded: “The way we are thinking about it is we




11
   Outset Capital, Perplexity CEO Aravind Srinivas Thursday Nights in AI, YOUTUBE, at 12:55
(July 18, 2023), https://www.youtube.com/watch?v=jksGQhMtXjo.
12
   See, e.g., Elizabeth Lopatto, Perplexity’s Grand Theft AI, THE VERGE (June 27, 2024),
https://www.theverge.com/2024/6/27/24187405/perplexity-ai-twitter-lie-plagiarism (describing
Perplexity as a “rent-seeking middleman on high-quality sources” that “starve[s] the primary
source of ad revenue”); Dhruv Mehrotra & Tim Marchman, Perplexity Is a Bullsh*t Machine,
WIRED (June 19, 2024), https://www.wired.com/story/perplexity-is-a-bullshit-machine
(discussing Perplexity’s reliance on recent news articles for its content as well as its tendency to
falsely attribute information) (asterisk added); Casey Newton, How to Stop Perplexity and save
the web from bad AI, PLATFORMER (June 20, 2024), https://www.platformer.news/how-to-stop-
perplexity-oreilly-ai-publishing (examining Perplexity’s “ethical rather than technical” innovation
in using protected content without permission).


                                                      17
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are at least attributing every part of the answer. Where are we getting it from in terms of inline

citations as well as the source panel at the top.”13

       64.     This attempt to excuse copyright infringement by pointing to the inclusion of “cited

sources” is a repeated theme in Perplexity’s public statements. Srinivas was asked a similar

question by interviewer Andrew Ross Sorkin. Specifically, Mr. Sorkin asked: “There is a real

question mark about what happens to that economy, not the search advertising part of the economy,

but the actual economy of those who are creating the underlying content that effectively is being

scraped. If it all goes back into a system like yours, and you produce the perfected result, and

nobody ultimately is going back to the original source or website, what that does to the system.

What do you think about that?”14

       65.     In response, Srinivas again obfuscated by referencing Perplexity’s cited sources

feature, stating in part: “So Perplexity has been revolutionary in the fact that ever since the first

day we launched, we always cite our sources.”15

       66.     In response to a Forbes exposé about Perplexity’s unauthorized use of its work,

Srinivas disregarded Forbes’ primary concern, saying in part: “We agree with the feedback you’ve

shared that it should be a lot easier to find the contributing sources and highlight them more

prominently.”16


13
   Indian Institute of Technology Madras, Office of Alumni and Corporate Relations, Talk by Shri.
Aravind Srinivas, Founding Story and Journey of Perplexity, YOUTUBE, at 49:05 (Jan. 18, 2024),
https://www.youtube.com/watch?v=ygRVDIwheB4.
14
    News Release, CNBC Exclusive: CNBC Transcript: Perplexity Founder & CEO Aravind
Srinivas Speaks with CNBC’s Andrew Ross Sorkin on “Squawk Box” Today, CNBC (Apr. 23,
2024),      https://www.cnbc.com/2024/04/23/cnbc-exclusive-cnbc-transcript-perplexity-founder-
ceo-aravind-srinivas-speaks-with-cnbcs-andrew-ross-sorkin-on-squawk-box-today.html.
15
   Id.
16
           @AravSrinivas,         X        (June        7,        2024         3:21         PM)
https://x.com/AravSrinivas/status/1799159732126794017 (emphasis added); see also Randall



                                                  18
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       67.     Srinivas has also stated: “Citations are a very big thing in academia . . . Everyone

feels proud if their paper gets cited by other people, and especially if it gets cited by people they

respect. They feel very good about it. And in our user interface, even though we give the answer,

we do show the user exactly where the answer is coming from.”17

       68.     As Srinivas surely knows or should know, academic standards for avoiding

plagiarism are wholly independent from copyright law.18 Dow Jones and NYP Holdings editors

and journalists are not graduate students working out of a library or lab, eager to have someone

acknowledge and utilize their research. They are professional journalists and publishers – working

under high-pressure deadlines, sometimes in dangerous places – whose livelihoods depend on the

enforcement and monetization of their intellectual property rights.

       69.     Upon information and belief, Perplexity’s citations make users less inclined to visit

the original content source, because, as Perplexity has boasted, citations make content appear more

“Reliable,”19 allowing Perplexity’s readers to feel more confident that they can “Skip the Links”

when they believe they are reading content from credible sources.




Lane, Why Perplexity’s Cynical Theft Represents Everything That Could Go Wrong With AI,
FORBES (June 11, 2024), https://www.forbes.com/sites/randalllane/2024/06/11/why-perplexitys-
cynical-theft-represents-everything-that-could-go-wrong-with-ai.
17
   Indian Institute of Technology Madras, Office of Alumni and Corporate Relations, Talk by Shri.
Aravind Srinivas, Founding Story and Journey of Perplexity, YOUTUBE, at 17:57 (Jan. 18, 2024),
https://www.youtube.com/watch?v=ygRVDIwheB4.
18
    See, e.g., Avoiding Plagiarism Guide, APA Style 7th Edition (last visited Aug. 30, 2024),
https://apastyle.apa.org/instructional-aids/avoiding-plagiarism.pdf.
19
    See What is Perplexity?, supra note 1 (promoting Perplexity’s “Reliable sources” with an
explanation that “[e]very answer is backed by citations from trusted news outlets, academic papers,
and established blogs”).


                                                 19
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       70.     This observation is corroborated by Plaintiffs’ experience of detecting virtually no

click-through traffic on their websites from “cited sources” links on Perplexity, despite Perplexity

receiving approximately 250 million queries per month.20

       71.     Perplexity’s next attempt to deflect criticism and legal action against their massive

illegal copying and use of copyrighted works was their announcement of a so-called “Publishers’

Program.”

       72.     Perplexity cofounder and current Chief Technology Officer Denis Yarats has

essentially acknowledged the need to enter into agreements compensating the owners of the

copyrighted works that Perplexity appropriates for its own commercial benefit. “I think there has

to be probably something where you have to work together with the content creators,” he said.21

“It’s going to be interesting to figure out what is the beneficial way for both of the parties because,

yeah, I think the content generation is very important. And I think, you know, if people stop

producing it, it’s then, yeah, probably not good for anybody.”22

       73.     According to Perplexity, the Publishers’ Program was developed “[t]o further

support the vital work of media organizations and online creators,” because the company “need[s]

to ensure publishers can thrive as Perplexity grows.”23 The program purports to share an




20
   Madhumita Murgia & Cristina Criddle, Perplexity’s popularity surges as AI search start-up takes
on Google, THE FINANCIAL TIMES (Aug. 9, 2024), https://www.ft.com/content/87af3340-2611-
4650-9ae3-036927e9f65c.
21
   Gradient Dissent, Transforming Search with Perplexity AI’s CTO Denis Yarats, YOUTUBE, at
31:27 (June 20, 2024), https://www.youtube.com/watch?v=gvP-DxqatLQ.
22
   Id.
23
     Introducing the Perplexity Publishers’ Program, Perplexity AI (July 30, 2024),
https://www.perplexity.ai/hub/blog/introducing-the-perplexity-publishers-program.


                                                  20
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unspecified portion of ad revenue from advertisements that Perplexity plans to host in “coming

months.”24

       74.     While Perplexity is correct in conceding that generative AI is unsustainable without

a thriving market for publisher content, the Publishers’ Program is no solution or defense to

Perplexity’s infringement. Rather, this program is Perplexity’s naked attempt to dictate unilaterally

the terms of a license to owners of original content from whom Perplexity has already taken

copyrighted material. In the negotiation of a valid license to copyrighted material, an infringer

does not unilaterally dictate the terms of the license to its victims.

       75.     At other times, Perplexity has publicly alluded to the possibility that its copying of

publishers’ copyrighted works could possibly be justified as a fair use. Responding to a question

about Perplexity’s scraping and reprinting of content, Perplexity’s Chief Business Officer Dmitry

Shevelenko is quoted as saying: “There’s intricacies of fair use and copyright law where we feel

we’re kind of, you know, clearly within those bounds.”25

       76.     This half-hearted suggestion of a fair use defense is also incorrect. Perplexity’s use

is plainly and solely for a commercial purpose. Moreover, upon information and belief, it copies

into its index every single word of Plaintiffs’ copyrighted works that it can get its hands on.

Additionally, the use to which it puts these copies is to create a commercial substitute for Plaintiffs’

protected works – in Perplexity’s own words, to allow and encourage users to “Skip the Links” to

Plaintiffs’ original works. Such substitution causes substantial harm to Plaintiffs’ traditional

advertising and subscription revenues. Perplexity’s conduct also harms Plaintiffs’ additional,



24
  Id.
25
  Kylie Robison, Perplexity is cutting checks to publishers following plagiarism accusations, THE
VERGE (July 30, 2024), https://www.theverge.com/2024/7/30/24208979/perplexity-publishers-
program-ad-revenue-sharing-ai-time-fortune-der-spiegel.


                                                  21
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established revenue stream from licensing to more scrupulous AI companies. Nor is Perplexity’s

use of Plaintiffs’ copyrighted works transformative in the way that copyright law sometimes

protects. A transformative work adds something new, with a further purpose or different character,

altering the first with new expression, meaning, or message. Here, all that Perplexity’s so-called

“answer engine” does is massively copy the copyrighted expression, meaning, and message of

others and repackage it to the consumer. Perplexity’s machine adds no new expression, meaning,

or message of its own.

     IV.         Perplexity’s Massive Illegal Copying of Plaintiffs’ Original Works as Inputs for
                 Its RAG Index

           77.      The most basic copyright violation in this case is Perplexity’s unlicensed and illegal

copying of a massive amount of Plaintiffs’ copyrighted works as inputs into its RAG index.

           78.      Perplexity engages in this wrongful conduct in order to deliver on its promise that

its users can “Skip the Links” to the websites of original content creators.

           79.      Perplexity needs this original content to achieve what it purports to deliver to its

users: “the equal in human labor of a journalist or an academic scholar, or a person writing

Wikipedia pages, being done for you in a matter of seconds.”26

           80.      Perplexity has marketed itself as, among other things, a substitute purveyor of news,

even though Perplexity does not employ any journalists or editors to produce original news stories.

According to Perplexity’s website, it seeks to attract customers interested in a “daily [news]

briefing.”27




26
   Building the Metaverse, AI and the Search for Truth and Answers, YOUTUBE, at 02:48 (July 20,
2023), http://www.youtube.com/watch?v=TTjEr7TFcmQ.
27
      What is Pro Search?, Perplexity AI (last visited Aug. 30, 2024),
http://perplexity.ai/hub/faq/what-is-pro-search.


                                                     22
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       81.     Upon information and belief, Perplexity has copied hundreds of thousands of

Plaintiffs’ copyrighted articles for its RAG database without authorization, the true extent of which

is a fact uniquely in the possession of Perplexity.

       82.     Perplexity’s need for a massive, unauthorized trove of Plaintiffs’ content can be

explained by its CEO’s admission that “Perplexity would be useless” if there were no new web

content for it to utilize.28 As a purveyor of news and other news-related content, but without its

own newsroom, Perplexity must copy content from the websites of “[r]eliable sources” and

“trusted news outlets”29 into its RAG index. As Shevelenko said, presumably referring to

companies like Plaintiffs, “obviously larger publishers tend to produce the types of content that is

more authoritative and has more verified facts.”30

       83.     Upon information and belief, Perplexity copies copyrighted content in numerous

ways, each of which is a copyright violation. Sometimes Perplexity copies Plaintiffs’ copyrighted

works from Plaintiffs’ own websites by crawling and scraping them with its own crawlers. In doing

so, sometimes Perplexity and/or its agents have purposely ignored and/or evaded technological

features, such as the long accepted worldwide robots.txt protocol, a tool designed to instruct web

crawlers not to copy digital content.31 Other times, Perplexity crawls and scrapes Plaintiffs’

copyrighted content from third party websites of Plaintiffs’ licensees. Perplexity may also crawl

and scrape content using a third-party crawler under its direction and control.


28
   Mark Sullivan, Perplexity CEO Aravind Srinivas responds to plagiarism and infringement
accusations, FAST COMPANY (June 21, 2024), www.fastcompany.com/91144894/perplexity-ai-
ceo-aravind-srinivas-on-plagiarism-accusations.
29
   What is Perplexity?, supra note 1.
30
   Charlotte Tobitt, Perplexity to share ad revenue with signed-up publishers after flurry of
criticism, PRESS GAZETTE (July 30, 2024), https://pressgazette.co.uk/news/perplexity-publishers-
revenue-sharing.
31
   See generally Lopatto, supra note 12 (discussing Perplexity’s use of scrapers that ignore the
robots.txt protocol).


                                                 23
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        84.      In all events, Perplexity’s massive copying and use of Plaintiffs’ copyrighted works

into its RAG index is a completed violation of copyright law.

   V.         Perplexity’s Infringing Outputs

        85.      In addition to Perplexity’s massive and illegal copying of Plaintiffs’ copyrighted

works as inputs into its RAG index, many of the outputs – answers – of Perplexity’s so-called

“answer engine” constitute distinct copyright violations.

        86.      Sometimes, Perplexity’s answers contain full or partial verbatim reproductions of

Plaintiffs’ copyrighted articles. Moreover, upon information and belief, these reproductions are

more likely to be obtained by the user if the user subscribes to Perplexity’s “Perplexity Pro” for

$20 per month.

        87.      Other times, Perplexity’s outputs will be reworded into text resembling a

paraphrase or summary that is sourced from Plaintiffs’ copyrighted content.

        88.      Upon information and belief, in each of these cases, these output answers are

designed to, and do, act as substitutes for users clicking on links and otherwise going to Plaintiffs’

own or licensed third-party websites to read their copyrighted work, thus diverting revenue away

from Plaintiffs to Perplexity.

        89.      For example, in the output shown below, Perplexity generates a reproduction of the

full text of one of Plaintiffs’ copyrighted articles. When a Perplexity Pro user asked it to identify

what the New York Post’s lead sports columnist recently said about the New York Mets, Perplexity

described several pieces of content. When the user then asked Perplexity to generate the full text

of one of the articles identified, Perplexity obliged, providing a verbatim reproduction of the article

in full, which is registered with the U.S. Copyright Office as part of Registration No. TX 9-421-

491. Perplexity’s output is shown in the image below, and a copy of the original New York Post

article (which appeared on page 74 of the June 23, 2024 print edition) is attached in Appendix 5:


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Perplexity provides a Perplexity Pro user the full text of a New York Post article




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       90.     This is merely one example of Perplexity or Perplexity Pro generating verbatim text

from one of Plaintiffs’ copyrighted articles, and upon information and belief, there are many others.

Plaintiffs have observed that by using Perplexity Pro a user can generate between three full

paragraphs to an entire article of text verbatim from the New York Post.



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        91.    The next example shows Perplexity’s free application providing an in-depth

summary of a paywalled article of The Wall Street Journal, which is registered with the U.S.

Copyright Office as part of Registration No. TX 9-429-903. Perplexity’s output is shown in the

image below, and a copy of The Wall Street Journal original article (which appeared on pages A1

and A8 of the July 31, 2024 print edition) is attached in Appendix 6.

     Perplexity’ s detailed summary of a paywalled article from The Wall Street Journal




        92.    This detailed summary is, upon information and belief, designed to be a substitute

for reading the copyrighted article of The Wall Street Journal, and in fact does operate as such a

substitute.



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         93.      Upon information and belief, Perplexity also makes additional, unauthorized copies

of Plaintiffs’ articles to preserve the outputs it generates in another database that it uses for

analytical and other purposes. This collection of outputs keeps and stores all of the “answers”

Perplexity provides to its users, including “answers” that contain Plaintiffs’ copyrighted content.

         94.      Plaintiffs are unaware of how many additional times in the “answer” retrieval and

generation process Perplexity makes additional electronic reproductions of copyrighted work – as

when, for example, Perplexity copies original content from the RAG index to the LLM “context

window.” However, Plaintiffs aver that each individual electronic copy constitutes its own

infringement subject to statutory damages under the Copyright Act.

         95.      These examples reflect just some of the ways that Perplexity uses Plaintiffs’

copyrighted work. None of the infringements described above would exist if Perplexity had either

secured authorization from Plaintiffs prior to copying their articles into its RAG index, or declined

to create a RAG index using Plaintiffs’ content without Plaintiffs’ consent.

   VI.         Perplexity’s False Attributions

         96.      In addition to reproducing all or part of Plaintiffs’ original content verbatim, or in

summarized or paraphrased form, Perplexity generates made-up text (hallucinations) in its outputs

and attributes that text to Plaintiffs’ publications using Plaintiffs’ trademarks. Perplexity’s use of

these marks in relation to hallucinations is likely to cause dilution by blurring and/or tarnishing

Plaintiffs’ famous marks. In addition, these false designations of origin confuse and deceive

Perplexity users into believing that the hallucinations are associated with, sponsored by, or

approved by Plaintiffs, when they are not. This, in turn, causes significant harm to Plaintiffs.

         97.      In the example below, when asked to provide the full text of a particular copyrighted

New York Post article, Perplexity provided a verbatim reproduction of the first 139 words of

Plaintiff’s article, which is registered with the U.S. Copyright Office as part of Registration No.


                                                   28
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TX 9-438-369, but then provided an additional five paragraphs of made-up text, attributing that

made-up content to the New York Post when it did not actually appear in the article. Perplexity’s

output is shown in the image below, and a copy of the original New York Post article (which

appeared on page 14 of the August 17, 2024 print edition) is attached in Appendix 7.

                Perplexity Pro user requests full text of New York Post article




                                  [output image on next page]




                                               29
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         Perplexity Pro generates verbatim copyrighted content and then fabricates
                                   the rest of its “answer”




                                                                                  Verbatim text
                                                                                  reproduced
                                                                                  from the New
                                                                                  York Post
                                                                                  article




                                                                                  Hallucinated
                                                                                  content that
                                                                                  is not in the
                                                                                  New York
                                                                                  Post article




       98.     Perplexity’s five fabricated paragraphs contain information that was not in the New

York Post article.

       99.     Never having appeared in the New York Post, the hallucinated material falsely

attributed to the New York Post, using NYP Holdings’ trademarks, dilutes those trademarks and




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confuses Perplexity users who are led to believe that they have received NYP Holdings’ authentic

content.

       100.    In the next example, when asked to provide key quotes from a pay-walled article

from The Wall Street Journal, Perplexity provided “several key quotes” purportedly included in

the article that do not in fact appear there. Notably, this hallucination occurred after Perplexity

provided an accurate, detailed summary of the same article, as discussed above. Perplexity’s output

is shown in the image below, and a copy of The Wall Street Journal original article is attached in

Appendix 6.

                   Perplexity repeatedly misquotes The Wall Street Journal




                                                                              Of the purported
                                                                              quotations, only a
                                                                              single phrase
                                                                              (“limited inventory
                                                                              and production
                                                                              capability”)
                                                                              accurately quotes
                                                                              the article




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        101.   Never having appeared in The Wall Street Journal, the hallucinated material falsely

attributed to The Wall Street Journal, using Dow Jones’s trademarks, dilutes those trademarks and

confuses Perplexity users who are led to believe that they have received Dow Jones’s authentic,

pay-walled content.

        102.   Perplexity’s use of Plaintiffs’ trademarks in connection with such hallucinations is

likely to cause confusion or mistake, or to deceive as to the affiliation, connection, or association

of Plaintiffs with Perplexity’s hallucinations, and/or as to the origin, sponsorship, or approval of

Perplexity’s hallucinations, and is likely to dilute Plaintiffs’ trademarks.

     VII.   Harm from Perplexity’s Illegal Conduct

        103.   By copying Plaintiffs’ copyrighted content and using it to create substitutes for

visiting Plaintiffs’ or Plaintiffs’ licensees’ websites, Perplexity is misappropriating from Plaintiffs

and for itself substantial advertising and subscription revenue opportunities that belong rightfully

to Plaintiffs as the creators and owners of the copyrighted works.

        104.   The substantial fundraising Perplexity has accomplished, totaling in excess of $150

million,32 and Perplexity’s current market valuation, which purports to be in excess of $3 billion,33

is indicative of the potentially massive illegal transfer of revenue from news publishers to

Perplexity, purposefully accomplished by Perplexity.



32
   Perplexity Team, Perplexity Raises Series A Funding Round, Perplexity AI (Mar. 28, 2023),
https://www.perplexity.ai/hub/blog/announcing-our-series-a-funding-round-and-mobile-app-
launch; Aravind Srinivas, Perplexity Raises Series B Funding Round, Perplexity AI (Jan. 4, 2024),
https://www.perplexity.ai/hub/blog/perplexity-raises-series-b-funding-round; Perplexity Team,
Perplexity     Launches      Enterprise     Pro,     Perplexity     AI    (Apr.    23,     2024),
https://www.perplexity.ai/hub/blog/perplexity-launches-enterprise-pro.
33
   Kanjyik Ghosh, SoftBank to invest in search startup Perplexity AI at $3 bln valuation,
Bloomberg reports, REUTERS (June 27, 2024), https://www.reuters.com/technology/artificial-
intelligence/softbank-invest-search-startup-perplexity-ai-3-bln-valuation-bloomberg-reports-
2024-06-27.


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       105.    In addition to this massive misappropriation of revenue, when outputs from

Perplexity’s technology contain hallucinations attributed to Plaintiffs’ works, Plaintiffs are further

harmed by false attributions and dilution. Perplexity’s hallucinations, passed off as authentic news

and news-related content from reliable sources (using Plaintiffs’ trademarks), damage the value of

Plaintiffs’ trademarks by injecting uncertainty and distrust into the news gathering and publishing

process, while also causing harm to the news-consuming public.

       106.    Upon information and belief, Perplexity is aware, including from Plaintiffs’ own

correspondence to Perplexity, that there is a market for licensing copyrighted works for use in AI

outputs. Apparently in an effort to scale its business ahead of its competitors, Perplexity has chosen

to operate without such licenses. Plaintiffs are directly injured by Perplexity’s misuse of Plaintiffs’

copyrighted works, which deprives Plaintiffs of immediate and potential licensing revenues.

       107.    This conduct likewise harms the news-consuming public. Generating content for

advertisement or subscription revenue is unsustainable if the content is taken en masse and

reproduced by bad-faith actors for substitutive commercial purposes.

       108.    Perplexity imperils the traditional and derivative markets for the news and news-

related content that it collects and reproduces. Perplexity’s conduct, if replicated by others, would

harm the market for Plaintiffs’ news and news-related content vis-à-vis AI companies, divert

readers from the authorized platforms for that content, reduce the number of paying subscribers

who seek lawful entry past The Wall Street Journal’s paywall, and discourage advertisers from

continuing to pay for advertising in Plaintiffs’ publications.

       109.    In this way, Perplexity’s conduct hurts multiple markets for Plaintiffs’ copyrighted

works, including the licensing of content, subscriptions, and ad revenue.

       110.    Accordingly, Plaintiffs bring the following counts against Defendant Perplexity:




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                                       CAUSES OF ACTION

                                     COUNT ONE
Copyright Infringement (17 U.S.C. § 106) – Perplexity’s Copying of Plaintiffs’ Copyrighted
                     Work to Create “Inputs” for Its RAG Index

        111.    Plaintiffs repeat each and every allegation set forth above as if fully set forth herein.

        112.    Plaintiffs hold exclusive rights to the extensive body of copyrighted material they

seek to protect in this case.

        113.    This includes copyrights in The Wall Street Journal, which Plaintiff Dow Jones has

registered with the U.S. Copyright Office, including Registration No. TX 9-429-903 and the non-

exhaustive list of copyright registrations attached as Appendix 3.

        114.    This further includes copyrights in the New York Post, which Plaintiff NYP

Holdings has registered with the U.S. Copyright Office, including Registration No. TX 9-421-491,

Registration No. TX 9-438-369, and the non-exhaustive list of copyright registrations attached as

Appendix 4.

        115.    Upon information and belief, Perplexity, without Plaintiffs’ authorization, directly

or indirectly through a third party, has willfully copied as many of these articles that it has been

able to access with its own or with third parties’ web crawlers as inputs into a database or databases,

including content covered by the registrations listed at Appendix 3 and Appendix 4.

        116.    This database or these databases are used for a process commonly referred to as

retrieval-augmented generation or “RAG.”

        117.    The copies that are made as inputs into Perplexity’s AI product, which may be

retained in Perplexity’s RAG index, are distinct copyright violations on a massive scale. They

include copies Perplexity makes from third-party websites or third-party search indices housing

Plaintiffs’ copyrighted material.




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        118.    Perplexity’s massive and ongoing infringements violate the Copyright Act, 17

U.S.C. § 106.

        119.    As a direct and proximate result of Perplexity’s infringements, Plaintiffs have

sustained and will continue to sustain substantial, immediate, and irreparable injury for which there

is no adequate remedy at law. Unless Perplexity’s infringing conduct is enjoined by this Court,

Perplexity has demonstrated an intent to continue to infringe Plaintiffs’ copyrighted works.

Plaintiffs are therefore entitled to permanent injunctive relief, including, but not limited to,

restraining and enjoining Perplexity’s ongoing infringement and ordering the destruction of any

RAG index or index that cannot be shown to have fully and permanently deleted Plaintiffs’

copyrighted works.

        120.    Plaintiffs are further entitled to recover statutory damages, actual damages,

restitution of profits, attorneys’ fees, and other remedies provided by law.

                                     COUNT TWO
  Copyright Infringement (17 U.S.C. § 106) – Perplexity’s Copying of Plaintiffs’ Protected
                     Work to Generate “Outputs” to User Queries

        121.    Plaintiffs repeat each and every allegation set forth above as if fully set forth herein.

        122.    Plaintiffs hold exclusive rights to the extensive body of copyrighted material they

seek to protect in this case.

        123.    This includes copyrights in The Wall Street Journal, which Plaintiff Dow Jones has

registered with the U.S. Copyright Office, including Registration No. TX 9-429-903 and the non-

exhaustive list of Copyright Registrations attached as Appendix 3.

        124.    This further includes copyrights in the New York Post, which Plaintiff NYP

Holdings has registered with the U.S. Copyright Office, including Registration No. TX 9-421-491,




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Registration No. TX 9-438-369, and the non-exhaustive list of Copyright Registrations attached

as Appendix 4.

       125.      Upon information and belief, Perplexity, without Plaintiffs’ authorization, directly

or indirectly through a third party, has willfully copied as many of these articles that it has been

able to access with its own or with third parties’ web crawlers as inputs into a database or databases,

including content covered by the registrations listed at Appendix 3 and Appendix 4.

       126.      This database or these databases are used for a process commonly referred to as

retrieval-augmented generation or “RAG.”

       127.      Perplexity, in turn, utilizes Plaintiffs’ copyrighted content, accessed through its

RAG process, to produce outputs, or “answers” to users’ queries.

       128.      The outputs or “answers” to users’ queries contain and/or are derived from

Plaintiffs’ copyrighted content, whether they come in the form of verbatim or near verbatim

reproductions of Plaintiffs’ copyrighted works, summaries, abridgements, or any other reproduced

or derivative content sourced from Plaintiffs’ copyrighted works, all of which infringe on Plaintiffs’

copyrighted articles.

       129.      As Perplexity has acknowledged, and even boasted, these outputs are intended and

designed to eliminate the need for Perplexity’s users to go to original content creators’ websites.

       130.      Upon information and belief, Perplexity’s AI applications themselves, or through a

third-party technology under Perplexity’s direction and control, generate additional unauthorized

copies of Plaintiffs’ copyrighted work in the course of responding to a user’s query. This includes,

but is not limited to, copies of infringing material that Perplexity likely stores in an output archive

as part of its normal business practices.




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       131.    Every instance in which Perplexity, on its own or by directing or controlling a third

party, copies Plaintiffs’ protected work in the process of generating user outputs, constitutes a

separate violation of the Copyright Act, 17 U.S.C. § 106.

       132.    As a direct and proximate result of Perplexity’s infringements, Plaintiffs have

sustained and will continue to sustain substantial, immediate, and irreparable injury for which there

is no adequate remedy at law. Unless Perplexity’s infringing conduct is enjoined by this Court,

Perplexity has demonstrated an intent to continue to infringe Plaintiffs’ copyrighted works.

Plaintiffs are therefore entitled to permanent injunctive relief, including, but not limited to

restraining and enjoining Perplexity’s ongoing infringement and destruction of any RAG database,

or index that cannot be shown to have fully and permanently deleted Plaintiffs’ copyrighted works.

       133.    Plaintiffs are further entitled to recover statutory damages, actual damages,

restitution of profits, attorneys’ fees, and other remedies provided by law.

                                      COUNT THREE
              False Designation of Origin and Dilution of Plaintiffs’ Trademarks
                                      (15 U.S.C. § 1125)

       134.    Plaintiffs repeat each and every allegation set forth above as if fully set forth herein.

       135.    Dow Jones is the owner of a number of federally registered trademarks for the

marks The Wall Street Journal and WSJ, including Registration Nos. 408,379, 1,960,159,

4,297,319, 4,297,321, 4,298,327, 3,981,663, 4,813,188, and others.

       136.    NYP Holdings is the owner of a number of federally registered trademarks for the

mark New York Post including Registration Nos. 1,526,818, 2,213,076, 3,639,502, and others.

       137.    Each of the trademarks for The Wall Street Journal, WSJ, and New York Post are

distinctive and “famous marks” within the meaning of Section 42(c) of the Lanham Act, are widely




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recognized by the general consuming public of the United States, and became distinctive and

famous prior to Perplexity’s unauthorized use.

       138.     Each of the trademarks for The Wall Street Journal, WSJ, and New York Post are

incontestable as a result of Plaintiffs’ registration and continued use of these marks.

       139.     When Perplexity’s AI applications are asked questions that relate to Plaintiffs’

publications, there is a high probability that the applications will misrepresent Plaintiffs’ work,

falsely attributing content (including patently erroneous statements) to Plaintiffs’ trademarked

publications.

       140.     Perplexity is aware that their applications falsely attribute content (including

patently erroneous statements) to Plaintiffs’ trademarked publications.

       141.     Perplexity, in connection with its AI applications, has used and, upon information

and belief, continues to use in interstate commerce “The Wall Street Journal,” “WSJ,” “New York

Post,” and other marks similar and/or identical to Dow Jones’s and NYP Holdings’ well-known

and famous trademarks in a misleading manner, falsely attributing content to Plaintiffs’

trademarked publications.

       142.     Perplexity’s use of similar and/or identical copies of Plaintiffs’ famous, distinctive

marks, The Wall Street Journal, WSJ, and New York Post – marks used to denote sources of high-

quality journalism – without authorization, in connection with its AI applications, creates an

association in the minds of its users that the outputs generated by Perplexity’s AI applications,

including hallucinations, are derived from and/or associated with sources of high-quality

journalism, thereby impairing the distinctiveness of the marks.

       143.     Further, Perplexity’s use of similar and/or identical copies of Plaintiffs’ marks in

connection with fictitious and/or fake news stories and information that Perplexity’s AI




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applications hallucinate harms the marks The Wall Street Journal, WSJ, and New York Post, each

of which has become recognized by the news-consuming public for their high-quality journalism

due to the multi-layered drafting, fact-checking, editing, and review process used by those

publications.

       144.     In each case, Perplexity’s actions are likely to cause dilution of Plaintiffs’ famous

and distinctive marks by blurring and/or tarnishment, in violation of 15 U.S.C. § 1125(c).

       145.     In addition, Perplexity’s use of the marks in connection with its AI applications

trades upon Plaintiffs’ valuable reputation and consumer goodwill by using Plaintiffs’ trademarks

and/or confusingly similar marks in a manner that is likely to cause and/or actually causes

confusion, mistake, or to deceive consumers and potential consumers into believing that

Perplexity’s outputs are factually correct and authoritative because they are sourced from

Plaintiffs’ publications and/or associated with, sponsored by or approved by Plaintiffs, when they

are not, in violations of 15 U.S.C. § 1125(a)(1).

       146.     Perplexity’s use of Plaintiffs’ marks in connection with hallucinations harms

Plaintiffs not only by devaluing their trademarks, but by devaluing them for the very audience

Plaintiffs most want to capture: news consumers who might bypass Plaintiffs’ sites because

Perplexity is providing them a substitute product.

       147.     Upon information and belief, Perplexity has actual knowledge of Dow Jones’s and

NYP Holdings’ ownership and use of The Wall Street Journal and New York Post trademarks.

Perplexity’s use of the trademarks without the consent of Dow Jones and/or NYP Holdings,

constitutes a willful violation of 15 U.S.C. § 1125.

       148.     As a direct and proximate result of Perplexity’s conduct, Plaintiffs have sustained

and will continue to sustain substantial, immediate and irreparable injury for which there is no




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adequate remedy at law. Unless Perplexity’s infringing conduct is enjoined by this Court,

Perplexity has demonstrated an intent to continue to falsely attribute hallucinations to Plaintiffs’

publications by using Plaintiffs’ trademarks and to dilute Plaintiffs’ trademarks. Plaintiffs are

therefore entitled to permanent injunctive relief.

        149.   Plaintiffs are further entitled to recover statutory damages, actual damages,

restitution of profits, attorneys’ fees, and other remedies provided by law.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs Dow Jones and NYP Holdings respectfully request judgments

against Perplexity as follows:

   A.      Enjoining Perplexity from the unlawful copying of Plaintiffs’ copyrighted content

           without Plaintiffs’ authorization.

   B.      Enjoining Perplexity from using, for the retrieval or generation of content for AI

           outputs, any websites, indices, databases, or other tools that contain complete or

           excerpted portions of Plaintiffs’ copyrighted works without Plaintiffs’ authorization.

           This includes Perplexity’s own indices, databases, and tools, as well as those belonging

           to any third parties.

   C.      Ordering the destruction of any index or database created by Perplexity that contains,

           or that cannot be shown to have fully and permanently deleted, Plaintiffs’ copyrighted

           works or any derivative content Perplexity has generated from Plaintiffs’ copyrighted

           works, in vectorized or any other format.

   D.      Ordering the destruction of any copies Perplexity has made and/or that Perplexity

           possesses of Plaintiffs’ copyrighted works, and of any other derivative content

           Perplexity has generated, in vectorized or in any other format, that are in Perplexity’s

           possession. This includes copies of any portion of Perplexity’s copyrighted work saved


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             in any Perplexity database or in any other place where the content might be used to

             retrieve or generate a response to a user’s question. This also includes reproductions or

             other derivative content saved in Perplexity’s archive of generated outputs.

E.           Statutory damages, up to and including $150,000 for each infringement, actual

             damages, and Perplexity’s profits, for each infringement including each unauthorized

             digital copy or other content derived from Dow Jones’s and NYP Holdings’ copyrighted

             works.

        i.      This includes, but is not limited to, each copy made of Plaintiffs’ copyrighted works

                into a RAG index or otherwise copied for use in Perplexity’s AI applications.

       ii.      This includes, but is not limited to, each reproduction or other infringing use

                generated for users as an “output” by Perplexity’s AI applications.

      iii.      This also includes any other reproduction or infringing use, in vectorized or any

                other format, regardless of the stage during which the copy or use was produced in

                Perplexity’s output-generating process.

F.           Enjoining Perplexity from using Plaintiffs’ trademarks to make any false designations

             of origin and from using Plaintiffs’ trademarks or any similar marks in any manner that

             will dilute Plaintiffs’ trademarks.

G.           Statutory damages, up to and including three times actual damages, actual damages,

             and Perplexity’s profits, for each violation of 15 U.S.C. § 1125.

H.           An award of attorneys’ fees, costs, and expenses as permitted by law.

I.           Such other and different relief that the Court deems just and proper.

                                 DEMAND FOR TRIAL BY JURY

     Plaintiffs demand trial by jury on all issues so triable in this action.




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Dated: December 11, 2024             /s/ Paul T. Cappuccio
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